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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address


    Keith J. Barnett (State Bar No. 210436)
    keith.barnett@troutman.com
    TROUTMAN PEPPER HAMILTON SANDERS
    LLP
    600 Peachtree Street, N.E., Suite 3000
    Atlanta, GA 30308
    Telephone: 404.885.3423
    Facsimile: 404.885.3900



         Individual appearing without attorney
         Attorney for Payliance

                                            UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

    In re:
                                                                                CASE NO.: 8:23-bk-10571-SC
    THE LITIGATION PRACTICE GROUP, P.C.,                                        CHAPTER: 11
                                                                                ADVERSARY NO.: 8:23-ap-01046-SC
                                                                 Debtor(s).

    RICHARD A. MARSHACK, Chapter 11 Trustee,


                                                                                NOTICE OF LODGMENT OF ORDER OR
                                                                Plaintiff(s),   JUDGMENT IN ADVERSARY PROCEEDING
                                      vs.                                       RE: (title of motion1): STIPULATION TO EXTEND
                                                                                TIME TO RESPOND TO SECOND AMENDED
                                                                                COMPLAINT
    TONY DIAB, et al.,


                                                               Defendant.




PLEASE TAKE NOTE that the order or judgment titled ORDER APPROVING STIPULATION TO EXTEND TIME TO
RESPOND TO SECOND AMENDED COMPLAINT was lodged on (date) March 4, 2024 and is attached. This order
relates to the motion which is docket number 428.




1
    Please abbreviate if title cannot fit into text field.

              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                      SANTA ANA DIVISION
11    In re:                                         Case No. 8:23-bk-10571-SC
12    THE LITIGATION PRACTICE                        Adv. Proc. No. 8-23-ap-01046-SC
      GROUP, P.C.,
13                                                   Chapter 11
                            Debtor.
14                                                   ORDER APPROVING
                                                     STIPULATION TO EXTEND TIME
15                                                   TO RESPOND TO SECOND
      RICHARD A. MARSHACK,                           AMENDED COMPLAINT
16
      Chapter 11 Trustee,                            Date: [No Hearing Required]
17                                                   Time:
                                                     Place:
18                         Plaintiff,
19    v.
20    TONY DIAB, et al.,
21
                            Defendants.
22

23

24
               The Court, having read and considered the Stipulation to Extend Time to
25
     Respond to Second Amended Complaint between Defendant Payliance
26
     (“Payliance”) and Plaintiff Richard A. Marshack, Chapter 11 Trustee (“Plaintiff”),
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     and good cause appearing, IT IS HEREBY ORDERED that:
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                                                 1
                              ORDER APPROVING STIPULATION TO
                    EXTEND TIME TO RESPOND TO SECOND AMENDED COMPLAINT
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 1         1. The Stipulation is approved.
 2         2. The deadline for Payliance to file and serve any response to Plaintiff’s
 3            Second Amended Complaint is extended to April 5, 2024.
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 7   Date: _____________, 2024                    _______________________________
                                                  Scott C. Clarkson
 8                                                United States Bankruptcy Judge
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                           ORDER APPROVING STIPULATION TO
                 EXTEND TIME TO RESPOND TO SECOND AMENDED COMPLAINT
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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 400 Berwyn
Park, 899 Cassatt Road, Berwyn, PA 19312.


A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER OR JUDGMENT IN
ADVERSARY PROCEEDING will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_March 4, 2024_, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method f
or each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _March 4, 2024_, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

JUDGE’S COPY – Via Overnight Mail
The Honorable Scott C. Clarkson
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593


                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 03/04/2024                 Brian M. Nichilo                                                 /s/ Brian M. Nichilo
 Date                        Printed Name                                                    Signature

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1.   TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

            Christopher Celentino: christopher.celentino@dinsmore.com
            Eric Bensamochan: eric@eblawfirm.us
            Richard A. Marshack (TR): pkraus@marshackhays.com
            Leslie A. Cohen: leslie@lesliecohenlaw.com
            Michael T. Delaney: mdelaney@bakerlaw.com
            Jeremy Freedman: jeremy.freedman@dinsmore
            Christopher Ghio: christopher.ghio@dinsmore.com
            Eric D. Goldberg: eric.goldberg@dlapiper.com
            Richard H. Golubow: rgolubow@wghlawyers.com
            Sweeney Kelly: kelly@ksgklaw.com
            Meredith King: mking@fsl.law
            David S. Kupetz: David.Kupetz@lockelord.com
            Matthew A. Lesnick: matt@lesnickprince.com
            Daniel A. Lev: daniel.lev@gmlaw.com
            Yosina M. Lissebeck: Yosina.Lissebeck@Dinsmore.com
            Daniel S. March: marchlawoffice@gmail.com
            Kathleen P. March: kmarch@bkylawfirm.com
            Kenneth Misken: Kenneth.M.Misken@usdoj.gov
            United States Trustee (SA): ustpregion16.sa.ecf@usdoj.gov
            Queenie K. Ng: queenie.k.ng@usdoj.gov
            Lisa Patel: lpatel@lesnickprince.com
            Teri T. Pham: tpham@epgrlawyers.com
            Douglas A. Plazak: dplazak@rhlaw.com
            Daniel H. Reiss: dhr@lnbyg.com
            Ronald N. Richards: ron@ronaldrichards.com
            Jonathan Serrano: jonathan.serrano@dinsmore.com
            Zev Shechtman: zs@DanningGill.com
            Howard Steinberg: steinbergh@gtlaw.com
            Andrew Still: astill@swlaw.com
            William J Wall: wwall@wall-law.com
            Johnny White: JWhite@wrslawyers.com
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